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 16
                           UNITED STATES DISTRICT COURT
 17
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 18
 19   TRADER JOE’S COMPANY, a                        Case No. 2:23-cv-08395-CBM (KSx)
      California corporation,                        Judge: Hon. Consuelo B. Marshall
 20
                  Plaintiff,                              JOINT STIPULATION OF
 21                                                        DISMISSAL WITHOUT
            v.                                                 PREJUDICE
 22
 23   JOEMART LTD D/B/A TRADER
      JOE, a corporation of the British Virgin       Complaint Filed: October 5, 2023
 24   Islands; SOJ TRADING LTD D/B/A
      JOEPEGS, a corporation of the British
 25   Virgin Islands; CHENG CHIEH LIU,
 26   an individual; and DOES 1-10,

 27               Defendants.
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  1           JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
  2           Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Trader Joe’s Company
  3   and Defendants Joemart Ltd. d/b/a Trader Joe, SOJ Trading Ltd d/b/a Joepegs, and
  4   Defendant Cheng Chieh Liu hereby stipulate and agree Plaintiff’s claims for relief
  5   against Defendants in the above-captioned action are dismissed without prejudice,
  6   with all attorney’s fees, costs of court, and expenses borne by the party incurring
  7   same.
  8
      DATED: May 28, 2024               Respectfully submitted,
  9
                                        KILPATRICK TOWNSEND & STOCKTON LLP
 10
 11
                                        By: /s/ Jonathan W. Thomas
 12                                         DANIEL E. GAITAN
 13                                         JONATHAN W. THOMAS (pro hac vice
                                            Granted)
 14
                                        Attorneys for All Defendants
 15
 16   DATED: May 28, 2024               Respectfully submitted,
 17                                     O’MELVENY & MYERS LLP
 18
 19                                     By: /s/ David R. Eberhart
 20                                         DAVID R. EBERHART
 21                                     Attorneys for Plaintiff TRADER JOE’S
                                        COMPANY
 22
 23                                       ATTESTATION
 24               I hereby attest that all signatories listed, on whose behalf this filing is
 25     submitted, concur in this filing’s content and have authorized this filing.
 26
                                             By: /s/ David R. Eberhart
 27                                                David R. Eberhart
 28

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